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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Paul                                                             Nancy
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Peter                                                            Jean
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Salamon, Jr.                                                     Salamon
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0033                                                      xxx-xx-6847
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Paul Peter Salamon, Jr.
Debtor 2   Nancy Jean Salamon                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3485 Rivers End Place
                                 Buford, GA 30519
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Gwinnett
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Paul Peter Salamon, Jr.                                       /s/ Nancy Jean Salamon
                                 Paul Peter Salamon, Jr.                                           Nancy Jean Salamon
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     September 1, 2022                                 Executed on     September 1, 2022
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Paul Peter Salamon, Jr.
Debtor 2   Nancy Jean Salamon                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Charles M. Clapp                                               Date         September 1, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Charles M. Clapp 101089
                                Printed name

                                Law Offices of Charles Clapp
                                Firm name

                                5 Concourse Parkway NE
                                Suite 3000
                                Atlanta, GA 30328
                                Number, Street, City, State & ZIP Code

                                Contact phone     404-585-0040                               Email address         charles@lawcmc.com
                                101089 GA
                                Bar number & State




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Fill in this information to identify your case:

Debtor 1                  Paul Peter Salamon, Jr.
                          First Name                  Middle Name                   Last Name

Debtor 2                  Nancy Jean Salamon
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there
       5 Christianna Drive                                From-To:                         Same as Debtor 1                                    Same as Debtor 1
       Monroe, CT 06468                                   2000 - April 1,                                                                   From-To:
                                                          2022


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until             Wages, commissions,                       $45,000.00            Wages, commissions,                $32,083.00
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                           Operating a business
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                        Case number (if known)


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                           Wages, commissions,                      $106,000.00            Wages, commissions,              $55,000.00
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business

For the calendar year before that:                Wages, commissions,                      $102,000.00            Wages, commissions,              $40,000.00
(January 1 to December 31, 2020 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
For the calendar year before that:                                                                 $0.00       COVID                                 $4,000.00
(January 1 to December 31, 2020 )                                                                              Unemployment


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                          Case number (if known)


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:


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Debtor 2     Nancy Jean Salamon                                                                      Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total            Describe what you contributed                           Dates you                       Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and              Describe any insurance coverage for the loss                      Date of your         Value of property
      how the loss occurred                           Include the amount that insurance has paid. List pending          loss                              lost
                                                      insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      Abacus Credit Counseling                                  $26.00 - Credit Counseling                              8/25/2022                     $26.00
      17337 Ventura Blvd
      Suite 226
      Encino, CA 91316


      Law Offices of Charles Clapp                              $338.00 - Filing Fee                                    8/26/2022                    $338.00
      5 Concourse Parkway NE                                    $2,000.00 - Attorney Fee
      Suite 3000
      Atlanta, GA 30346


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment               Amount of
      Address                                                   transferred                                             or transfer was             payment
                                                                                                                        made
      Seymour Law Firm, LLC                                     $1,500.00 - Foreclosure Defense                         8/2022                     $1,500.00
      35 Nutmeg Dr #225,
      Trumbull, CT 06611




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
      Address                                                      property transferred                       payments received or debts   made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                    have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed
      Castle Partners LLC                                  Pass Through Entity (Unused)                          EIN:
      5 Christianna Drive
      Monroe, CT 06468                                                                                           From-To    11/2020 - Present




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Paul Peter Salamon, Jr.                                           /s/ Nancy Jean Salamon
Paul Peter Salamon, Jr.                                               Nancy Jean Salamon
Signature of Debtor 1                                                 Signature of Debtor 2

Date      September 1, 2022                                           Date     September 1, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:

Debtor 1                    Paul Peter Salamon, Jr.
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Nancy Jean Salamon
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       5 Christianna Drive                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       Monroe                            CT        06468-0000                         Land                                       entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                               $560,000.00                $560,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee Simple
       Fairfield                                                                      Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $560,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




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Debtor 2         Nancy Jean Salamon                                                                                Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Saab                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     9-3 Linear                                  Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2003                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              140,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                    $2,000.00                 $2,000.00
                                                                 (see instructions)



  3.2    Make:      VW                                       Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Passat SE                                   Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2015                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:              110,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                  $13,250.00                 $13,250.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,250.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household Goods                                                                                                                $1,500.00


                                   Clothing                                                                                                                          $300.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
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8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Wedding Ring                                                                                                             $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $2,300.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                Truist Bank NA
                                            17.1.       Checking                                Account is Negative                                                   $0.00


Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
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                                        17.2.    Checking                     Green Dot Bank NA                                                 $5,000.00



                                        17.3.    Checking/Savings             Peoples Bank NA                                                   $2,200.00



                                        17.4.    Checking                     Bank of America                                                   $1,600.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                 % of ownership:

                                          Castle Partners, LLC                                                        100          %                 $10.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...


Official Form 106A/B                                                   Schedule A/B: Property                                                         page 4
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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them...

Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $8,810.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.


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Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $560,000.00
56. Part 2: Total vehicles, line 5                                                                           $15,250.00
57. Part 3: Total personal and household items, line 15                                                       $2,300.00
58. Part 4: Total financial assets, line 36                                                                   $8,810.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $26,360.00              Copy personal property total           $26,360.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $586,360.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 6
             Case 22-56984-pmb                  Doc 1       Filed 09/02/22 Entered 09/02/22 15:54:05                              Desc Main
                                                           Document      Page 21 of 66
Fill in this information to identify your case:

Debtor 1               Paul Peter Salamon, Jr.
                       First Name                    Middle Name                Last Name

Debtor 2               Nancy Jean Salamon
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2003 Saab 9-3 Linear 140,000 miles                        $2,000.00                                 $2,000.00     11 U.S.C. § 522(d)(2)
     Line from Schedule A/B: 3.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Wedding Ring                                                  $500.00                                 $500.00     11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Checking/Savings: Peoples Bank NA                         $2,200.00                                 $2,200.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Checking: Bank of America                                 $1,600.00                                 $1,600.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.4
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Castle Partners, LLC                                           $10.00                                  $10.00     11 U.S.C. § 522(d)(5)
     100 % ownership
     Line from Schedule A/B: 19.1                                                  100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 22-56984-pmb                 Doc 1       Filed 09/02/22 Entered 09/02/22 15:54:05                        Desc Main
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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                               Case number (if known)

3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                       page 2 of 2
             Case 22-56984-pmb                       Doc 1         Filed 09/02/22 Entered 09/02/22 15:54:05                                      Desc Main
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Fill in this information to identify your case:

Debtor 1                   Paul Peter Salamon, Jr.
                           First Name                      Middle Name                      Last Name

Debtor 2                   Nancy Jean Salamon
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Connecticut Dept of
2.1                                                                                                            $22,467.00              $560,000.00           $22,467.00
        Revenue                                  Describe the property that secures the claim:
        Creditor's Name                          5 Christianna Drive Monroe, CT
                                                 06468 Fairfield County
        450 Columbus Blvd, Ste
                                                 As of the date you file, the claim is: Check all that
        1                                        apply.
        Hartford, CT 06103                           Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          5/2022                    Last 4 digits of account number        4354




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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Debtor 1 Paul Peter Salamon, Jr.                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Nancy Jean Salamon
              First Name                  Middle Name                      Last Name


        NATIONSTAR
2.2                                                                                                                $719,461.00           $560,000.00   $159,461.00
        MORTGAGE LLC                               Describe the property that secures the claim:
        Creditor's Name                            5 Christianna Drive Monroe, CT
                                                   06468 Fairfield County
                                                   As of the date you file, the claim is: Check all that
        350 HIGHLAND                               apply.
        HOUSTON, TX 77067                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                12/22/2006
                                Last Active
Date debt was incurred          9/30/2021                   Last 4 digits of account number         0033


        SANTANDER
2.3                                                                                                                   $9,748.00           $13,250.00           $0.00
        CONSUMER U                                 Describe the property that secures the claim:
        Creditor's Name                            2015 VW Passat SE 110,000 miles

        8585 N STEMMONS FWY
                                                   As of the date you file, the claim is: Check all that
        STE 1100 N                                 apply.
        DALLAS, TX 75247                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                7/29/2021
                                Last Active
Date debt was incurred          7/1/2022                    Last 4 digits of account number         6847



  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $751,676.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $751,676.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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Fill in this information to identify your case:

Debtor 1                     Paul Peter Salamon, Jr.
                             First Name                    Middle Name                       Last Name

Debtor 2                     Nancy Jean Salamon
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Connecticut Dept of Revenue                         Last 4 digits of account number                          $12,000.00         $12,000.00                    $0.00
             Priority Creditor's Name
             450 Columbus Blvd, Ste 1                            When was the debt incurred?             2019 - 2021
             Hartford, CT 06103
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Unpaid Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                               Case number (if known)

2.2        Georgia Department of Revenue                          Last 4 digits of account number                                 $0.00                  $0.00                  $0.00
           Priority Creditor's Name
           Bankruptcy Section                                     When was the debt incurred?
           1800 Century Blvd NE Ste 9100
           Atlanta, GA 30345
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         Notice Only

2.3        Internal Revenue Service                               Last 4 digits of account number                          $45,000.00             $45,000.00                    $0.00
           Priority Creditor's Name
           Centralized Insolvency Opera                           When was the debt incurred?           2019 - 2021
           PO Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                         Unpaid Taxes


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.1      ATLANTIC COLLECTION                                 Last 4 digits of account number       6847                                                 $255.00
         Nonpriority Creditor's Name
         194 BOSTON POST RD E                                When was the debt incurred?           Opened 10/6/2020
         LYME, CT 06333
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unpaid


4.2      BARCLAYS BANK DELAWA                                Last 4 digits of account number       6847                                                 $361.00
         Nonpriority Creditor's Name
                                                                                                   Opened 4/13/2021 Last Active
         125 S WEST ST                                       When was the debt incurred?           7/1/2022
         WILMINGTON, DE 19801
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.3      CREDIT COLLECTION SERVICE                           Last 4 digits of account number       0033                                                $4,972.00
         Nonpriority Creditor's Name
         PO BOX 607                                          When was the debt incurred?           Opened 1/21/2020
         NORWOOD, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.4      CREDIT ONE BANK                                     Last 4 digits of account number       6847                                                 $867.00
         Nonpriority Creditor's Name
                                                                                                   Opened 8/17/2018 Last Active
         6801 S CIMARRON RD                                  When was the debt incurred?           5/1/2022
         LAS VEGAS, NV 89113
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.5      Equifax                                             Last 4 digits of account number                                                                $0.00
         Nonpriority Creditor's Name
         PO Box 740241                                       When was the debt incurred?
         Atlanta, GA 30374
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Only


4.6      Experian                                            Last 4 digits of account number                                                                $0.00
         Nonpriority Creditor's Name
         701 Experian Parkway                                When was the debt incurred?
         Allen, TX 75013
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.7      FIRST PREMIER                                       Last 4 digits of account number       6847                                                 $386.00
         Nonpriority Creditor's Name
                                                                                                   Opened 8/6/2019 Last Active
         3820 N LOUISE AVE                                   When was the debt incurred?           7/1/2022
         SIOUX FALLS, SD 57107
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.8      GM FINANCIAL                                        Last 4 digits of account number       0033                                                $1,414.00
         Nonpriority Creditor's Name
                                                                                                   Opened 8/8/2013 Last Active
         PO BOX 181145                                       When was the debt incurred?           2/22/2020
         ARLINGTON, TX 76096
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Auto Loan Deficiency


4.9      JPMCB AUTO FINANCE                                  Last 4 digits of account number       0033                                                $2,712.00
         Nonpriority Creditor's Name
         700 KANSAS LANE                                                                           Opened 9/8/2016 Last Active
         MAIL CODE LA 44025                                  When was the debt incurred?           10/4/2021
         MONROE, LA 71203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Auto Loan Deficiency




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.1
0        KOHLS/CAPITAL ONE                                   Last 4 digits of account number       6847                                                     $38.00
         Nonpriority Creditor's Name
                                                                                                   Opened 5/17/2015 Last Active
         PO BOX 3115                                         When was the debt incurred?           7/1/2022
         MILWAUKEE, WI 53201-3115
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
1        MERRICK BANK                                        Last 4 digits of account number       6847                                                 $642.00
         Nonpriority Creditor's Name
                                                                                                   Opened 8/11/2019 Last Active
         PO BOX 9201                                         When was the debt incurred?           3/20/2022
         OLD BETHPAGE, NY 11804
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
2        MIDLAND CREDIT MANAGEMENT                           Last 4 digits of account number       0033                                                 $800.00
         Nonpriority Creditor's Name
         320 E BIG BEAVER STE 300                            When was the debt incurred?           Opened 10/23/2018
         TROY, MI 48083
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 9
           Case 22-56984-pmb                      Doc 1      Filed 09/02/22 Entered 09/02/22 15:54:05                                           Desc Main
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.1
3        Northside Hospital                                  Last 4 digits of account number       0033                                                $4,000.00
         Nonpriority Creditor's Name
         1000 Johnson Ferry Road NE                          When was the debt incurred?           2022
         Atlanta, GA 30342
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.1
4        SANTANDER CONSUMER USA                              Last 4 digits of account number       0033                                                $3,159.00
         Nonpriority Creditor's Name
                                                                                                   Opened 10/19/2018 Last Active
         961211 FORT                                         When was the debt incurred?           3/20/2022
         WORTH, TX 76161
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Auto Loan Deficiency


4.1
5        SYNCB/TJX CO                                        Last 4 digits of account number       6847                                                     $91.00
         Nonpriority Creditor's Name
                                                                                                   Opened 12/22/2021 Last Active
         4125 WINDWARD PLZ                                   When was the debt incurred?           7/1/2022
         ALPHARETTA, GA 30005
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                      Case number (if known)

4.1
6        Transunion                                          Last 4 digits of account number                                                                $0.00
         Nonpriority Creditor's Name
         2 Baldwin Place                                     When was the debt incurred?
         PO Box 1000
         Crum Lynne, PA 19022
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Only


4.1
7        US DEPT OF EDUCATION/GLE                            Last 4 digits of account number       0033                                              $116,698.00
         Nonpriority Creditor's Name
         2401 INTERNATIONAL LANE                                                                   Opened 11/17/2017 Last Active
         POB 7859                                            When was the debt incurred?           6/1/2022
         MADISON, WI 53704
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.1
8        US DEPT. OF EDUCATION/GL                            Last 4 digits of account number       0033                                               $39,863.00
         Nonpriority Creditor's Name
         2401 INTERNATIONAL LANE                                                                   Opened 9/6/2016 Last Active
         POB 7859                                            When was the debt incurred?           6/1/2022
         MADISON, WI 53704
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 9
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Debtor 1 Paul Peter Salamon, Jr.
Debtor 2 Nancy Jean Salamon                                                                              Case number (if known)

4.1
9         Yale New Haven Health                                    Last 4 digits of account number         6847                                              Unknown
          Nonpriority Creditor's Name
          789 Howard Ave                                           When was the debt incurred?
          New Haven, CT 06519
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                      57,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      57,000.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                  156,561.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      19,697.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  176,258.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 9 of 9
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Fill in this information to identify your case:

Debtor 1                  Paul Peter Salamon, Jr.
                          First Name                         Middle Name              Last Name

Debtor 2                  Nancy Jean Salamon
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Paul Peter Salamon, Jr.
                           First Name                            Middle Name        Last Name

Debtor 2                   Nancy Jean Salamon
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Paul Peter Salamon, Jr.

Debtor 2                      Nancy Jean Salamon
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Financial Adviser 1099                     Teacher
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Bellpoint LLC                              Hall County School District

       Occupation may include student        Employer's address
                                                                   881 Lake Avenue                            711 Green St
       or homemaker, if it applies.
                                                                   Greenwich, CT 06831                        Gainesville, GA 30501

                                             How long employed there?         Since January 2017                       Since August 3, 2022

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,303.00      $         4,500.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,303.00            $   4,500.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Paul Peter Salamon, Jr.
Debtor 2   Nancy Jean Salamon                                                                    Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,303.00       $         4,500.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,166.00       $        1,035.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $            0.00
     5e.    Insurance                                                                     5e.        $          0.00       $            0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $            0.00
     5g.    Union dues                                                                    5g.        $          0.00       $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,166.00       $        1,035.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,137.00       $        3,465.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,137.00 + $       3,465.00 = $           7,602.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           7,602.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Paul Peter Salamon, Jr.                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 Nancy Jean Salamon                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  19                   Yes
                                                                                                                                             No
                                                                                   Daughter                             19                   Yes
                                                                                                                                             No
                                                                                   Daughter                             22                   Yes
                                                                                                                                             No
                                                                                   Daughter                             25                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                              400.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                              527.00
      6d. Other. Specify: Lawn Maintenance                                                                   6d.   $                              100.00
             Pest Control                                                                                          $                               50.00
7.    Food and housekeeping supplies                                                           7.                  $                            1,000.00
8.    Childcare and children’s education costs                                                 8.                  $                                0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                              150.00
10.   Personal care products and services                                                    10.                   $                              150.00
11.   Medical and dental expenses                                                            11.                   $                              150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  630.00
      15c. Vehicle insurance                                                               15c. $                                                  500.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Emissions and Registration                                            16. $                                                  10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  310.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Investment Analytics Software (Mandatory)                           21. +$                                                500.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     7,602.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     7,602.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,602.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,602.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Paul Peter Salamon, Jr.
                         First Name               Middle Name                Last Name

Debtor 2                 Nancy Jean Salamon
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Connecticut Dept of Revenue                  Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of       5 Christianna Drive Monroe, CT             Reaffirmation Agreement.
   property             06468 Fairfield County                     Retain the property and [explain]:
   securing debt:



   Creditor's         NATIONSTAR MORTGAGE LLC                      Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of       5 Christianna Drive Monroe, CT             Reaffirmation Agreement.
   property             06468 Fairfield County                     Retain the property and [explain]:
   securing debt:



   Creditor's         SANTANDER CONSUMER U                         Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of       2015 VW Passat SE 110,000                  Reaffirmation Agreement.
   property             miles                                      Retain the property and [explain]:

Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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Debtor 1      Paul Peter Salamon, Jr.
Debtor 2      Nancy Jean Salamon                                                           Case number (if known)


    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Paul Peter Salamon, Jr.                                        X /s/ Nancy Jean Salamon
      Paul Peter Salamon, Jr.                                                Nancy Jean Salamon
      Signature of Debtor 1                                                  Signature of Debtor 2

      Date       September 1, 2022                                       Date     September 1, 2022




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
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                                                                        Document      Page 42 of 66
Fill in this information to identify your case:

Debtor 1                   Paul Peter Salamon, Jr.
                           First Name                           Middle Name                          Last Name

Debtor 2                   Nancy Jean Salamon
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             560,000.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              26,360.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             586,360.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             751,676.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              57,000.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             176,258.00


                                                                                                                                    Your total liabilities $               984,934.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                7,602.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                7,602.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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Debtor 1    Paul Peter Salamon, Jr.
Debtor 2    Nancy Jean Salamon                                                          Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $         10,389.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             57,000.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $            156,561.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $            213,561.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Paul Peter Salamon, Jr.
                            First Name            Middle Name              Last Name

Debtor 2                    Nancy Jean Salamon
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Paul Peter Salamon, Jr.                                       X   /s/ Nancy Jean Salamon
             Paul Peter Salamon, Jr.                                           Nancy Jean Salamon
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       September 1, 2022                                      Date    September 1, 2022




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Georgia
             Paul Peter Salamon, Jr.
 In re       Nancy Jean Salamon                                                                               Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,000.00
             Prior to the filing of this statement I have received                                        $                         0.00
             Balance Due                                                                                  $                     4,000.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Helping client obtain pre-filing credit briefing
                 Helping client obtain pay advices
                 Helping client obtain tax transcripts/returns
                 Initial Intake
                 Changes of address
                 Pre-confirmation turn-over proceedings
                 Stop creditor actions against client
                 Motion to Extend Stay or to Impose Stay
                 Motion for finding of Exigent Circumstances
                 Obtaining Employment Deduction Order and serving on employer
                 Order to Vacate Employer Deduction Order
                 341 Hearing and Reset Hearing
                 Confirmation Hearing and Reset Confirmation Hearing
                 Modifications necessary to confirm plan
                 Lien avoidances necessary to confirm plan
                 Objections to claim necessary to confirm plan
                 Letter requesting suspension of plan payments
                 Bar date review (and all resulting/related pleadings)
                 Provide information in obtaining pre-discharge financial counseling certificate
                 Post-Confirmation amendment to add creditors
                 Trustee or creditor motions to modify plan
                 Objections to Late-Filed Claims

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Post-confirmation modification of plan payments $350.00
             Post-confirmation MFRS for non-payment or no insurance $350.00
             Post-confirmation MFRS re: payment disputes $500.00
             Motion to sell property of the estate $500.00
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          Paul Peter Salamon, Jr.
In re     Nancy Jean Salamon                                                                        Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
              Application to employ professional $500.00
              Motion for Approval of Compromise and/or Settlement Proceeds $500.00
              Application for outside loan/Motion to refinance, modify loan, or incur debt $500.00
              Post-bar date review Trustee Motion to Dismiss $500.00
              Post-confirmation stay violations $500.00
              Motion to sever/dismiss as to one joint debtor $500.00
              Motion to reopen or vacate dismissal or reconsider dismissal $500.00
              Motion to re-impose stay $500.00
              Motion to retain tax refund $500.00
              Trip to courthouse to obtain a copy of a judgment $300.00
              Motion to Determine Claim Status of Claim and Release Lien $2,500.00
              Adversary Proceedings $350/hr
              Appellate Practice $350/hr Evidentiary Hearings (hourly)
              Appellate practice (hourly) $350/hr
              Adversary Proceeding for violation of Automatic Stay $1,000.00 or
              33% of recovered punitive or exemplary damages, whichever is greater, in addition to $350/hr.
              Adversary Proceeding for violation of Bankruptcy discharge $500.00 or
              33% of recovered punitive or exemplary damages, whichever is greater, in addition to $350/hr.
              Any services not specifically set forth above or in the Attorney-Client Agreement are deemed to fall within the
              Base-Fee Category
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   September 1, 2022                                                     /s/ Charles M. Clapp
   Date                                                                  Charles M. Clapp 101089
                                                                         Signature of Attorney
                                                                         Law Offices of Charles Clapp
                                                                         5 Concourse Parkway NE
                                                                         Suite 3000
                                                                         Atlanta, GA 30328
                                                                         404-585-0040 Fax: 404-393-8893
                                                                         charles@lawcmc.com
                                                                         Name of law firm
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                                              United States Bankruptcy Court
                                                   Northern District of Georgia
         Paul Peter Salamon, Jr.
 In re   Nancy Jean Salamon                                                                    Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: September 1, 2022                                /s/ Paul Peter Salamon, Jr.
                                                       Paul Peter Salamon, Jr.
                                                       Signature of Debtor

Date: September 1, 2022                                /s/ Nancy Jean Salamon
                                                       Nancy Jean Salamon
                                                       Signature of Debtor
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4
              Case 22-56984-pmb                   Doc 1      Filed 09/02/22 Entered 09/02/22 15:54:05                                        Desc Main
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Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Paul Peter Salamon, Jr.
Debtor 2              Nancy Jean Salamon                                                                  1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:        Northern District of Georgia
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                        5,303.00        $         4,773.00
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                              0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                              0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                      0.00      $              0.00
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                      0.00      $              0.00
                                                                                                      $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                      Case number (if known)



                                                                                                 Column A                      Column B
                                                                                                 Debtor 1                      Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                                   $                  0.00       $             0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                     $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                     0.00       $             0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               . Bonus                                                                        $                     0.00       $           250.00
                Year End                                                                         $                  0.00       $            63.00
                Total amounts from separate pages, if any.                                  +    $                  0.00       $             0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $       5,303.00          +   $       5,086.00      =    $     10,389.00

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>               $         10,389.00

             Multiply by 12 (the number of months in a year)                                                                                         x 12
      12b. The result is your annual income for this part of the form                                                                12b. $           124,668.00

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    4
      Fill in the median family income for your state and size of household.                                                         13.     $         96,622.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Paul Peter Salamon, Jr.                                         X /s/ Nancy Jean Salamon
               Paul Peter Salamon, Jr.                                               Nancy Jean Salamon

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                           page 2
           Case 22-56984-pmb                   Doc 1       Filed 09/02/22 Entered 09/02/22 15:54:05                        Desc Main
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Debtor 1   Paul Peter Salamon, Jr.
Debtor 2   Nancy Jean Salamon                                                                     Case number (if known)

             Signature of Debtor 1                                                     Signature of Debtor 2
       Date September 1, 2022                                                   Date September 1, 2022
            MM / DD / YYYY                                                           MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                               page 3
           Case 22-56984-pmb                       Doc 1      Filed 09/02/22 Entered 09/02/22 15:54:05                                Desc Main
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Fill in this information to identify your case:                                                             Check the appropriate box as directed in
                                                                                                            lines 40 or 42:
Debtor 1           Paul Peter Salamon, Jr.
                                                                                                                According to the calculations required by this
Debtor 2           Nancy Jean Salamon                                                                           Statement:
(Spouse, if filing)
                                                                                                                   1. There is no presumption of abuse.
United States Bankruptcy Court for the:         Northern District of Georgia
                                                                                                                   2. There is a presumption of abuse.
Case number
(if known)
                                                                                                                Check if this is an amended filing
Official Form 122A - 2
Chapter 7 Means Test Calculation                                                                                                                          04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Determine Your Adjusted Income

1.   Copy your total current monthly income.                            Copy line 11 from Official Form 122A-1 here=>........       $            10,389.00

2.   Did you fill out Column B in Part 1 of Form 122A-1?
          No. Fill in $0 for the total on line 3.
          Yes. Is your spouse Filing with you?
            No.        Go to line 3.
            Yes.       Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
     household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT regularly used for the household
     expenses of you or your dependents?


          No. Fill in 0 for the total on line 3.
          Yes. Fill in the information below:

             State each purpose for which the income was used                                 Fill in the amount you
             For example, the income is used to pay your spouse's tax debt or to              are subtracting from
             support other than you or your dependents.                                       your spouse's income

                                                                                          $

                                                                                          $

                                                                                          $

                   Total.                                                                 $              0.00

                                                                                                                 Copy total here=>...    -$              0.00


4.   Adjust your current monthly income. Subtract line 3 from line 1.                                                                   $      10,389.00




Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                       page 1
            Case 22-56984-pmb                      Doc 1     Filed 09/02/22 Entered 09/02/22 15:54:05                                      Desc Main
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Debtor 1         Paul Peter Salamon, Jr.
Debtor 2         Nancy Jean Salamon                                                               Case number (if known)



Part 2:           Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
   instructions for this form. This information may also be available at the bankruptcy clerk's office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
   your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's
   income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.


   5.      The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                           4
           the number of people in your household.



   National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



   6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                                      $       1,900.00


   7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.



   People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person           $         75.00

           7b. Number of people who are under 65                       X           4

           7c. Subtotal. Multiply line 7a by line 7b.                   $       300.00            Copy here=>        $           300.00


   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person           $       153.00

           7e. Number of people who are 65 or older                    X           0

           7f.     Subtotal. Multiply line 7d by line 7e.               $          0.00           Copy here=>       +$              0.00


           7g. Total. Add lines 7c and 7f                                                 $       300.00                   Copy total here=> $   300.00




Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                     page 2
            Case 22-56984-pmb                        Doc 1        Filed 09/02/22 Entered 09/02/22 15:54:05                                    Desc Main
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                           Case number (if known)


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:

        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8.      Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
           in the dollar amount listed for your county for insurance and operating expenses. ........................................... $                     785.00

   9.      Housing and utilities - Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses...................................                        $    1,619.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.

                To calculate the total average monthly payment, add all amounts that are
                contractually due to each secured creditor in the 60 months after you file
                for bankruptcy. Then divide by 60.

                Name of the creditor                                               Average monthly
                                                                                   payment

                NATIONSTAR MORTGAGE LLC                                            $             500.00


                                                                                                                                                Repeat this
                                                                                                           Copy                                 amount on
                                        Total average monthly payment              $             500.00    here=>        -$          500.00     line 33a.


           9c. Net mortgage or rent expense.

                Subtract line 9b (total average monthly payment) from line 9a (mortgage                                                Copy
                or rent expense). If this amount is less than $0, enter $0. ........................          $           1,119.00     here=>    $            1,119.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                               $                0.00

            Explain why:

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                      $              640.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                            page 3
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                                  Case number (if known)



   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.


    Vehicle 1         Describe Vehicle 1:
                                                2003 Saab 9-3 Linear 140,000 miles

   13a. Ownership or leasing costs using IRS Local Standard..........................................                  $             200.00

   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you filed for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment

                -NONE-                                                             $

                                                                                                                                                       Repeat this
                                                                                                                  Copy                                 amount on
                                        Total Average Monthly Payment              $                0.00          here =>       -$            0.00     line 33b.




   13c. Net Vehicle 1 ownership or lease expense                                                                                                   Copy net
                                                                                                                                                   Vehicle 1
           Subtract line 13b from line 13a. if this amount is less than $0, enter $0.                                                              expense
                                                                                                                       $             200.00        here => $         200.00



    Vehicle 2         Describe Vehicle 2:
                                                2015 VW Passat SE 110,000 miles

   13d. Ownership or leasing costs using IRS Local Standard...................................................         $             588.00

   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                SANTANDER CONSUMER U                                               $             201.33

                                                                                                                  Copy                              Repeat this
                                                                                                                  here                              amount on
                                        Total Average Monthly Payment              $             201.33           =>                      201.33    line 33c.
                                                                                                                           -$


   13f. Net Vehicle 2 ownership or lease expense                                                                                                   Copy net
                                                                                                                                                   Vehicle 2
           Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ......................                                       expense
                                                                                                                       $             288.33        here => $         288.33


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                                  $        0.00

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                                  $        0.00




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                                 page 4
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                    Case number (if known)




   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.

   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
           Do not include real estate, sales, or use taxes.                                                                              $     3,500.00

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
           Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.          $      500.00

   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
       term.                                                                                                                             $         0.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.     $         0.00

   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.       $         0.00

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
           Do not include payments for any elementary or secondary school education.                                                     $         0.00

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
           Payments for health insurance or health savings accounts should be listed only in line 25.                                    $         0.00

   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
           Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
           expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                   +$         0.00



   24. Add all of the expenses allowed under the IRS expense allowances.                                                                $    9,232.33
       Add lines 6 through 23.




Official Form 122A-2                                           Chapter 7 Means Test Calculation                                                  page 5
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Debtor 1     Paul Peter Salamon, Jr.
Debtor 2     Nancy Jean Salamon                                                                  Case number (if known)



   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                          $        650.00
           Disability insurance                                      $           0.00
           Health savings account                                  +$            0.00


           Total                                                     $          650.00       Copy total here=>                     $      650.00


           Do you actually spend this total amount?

                   No. How much do you actually spend?
                   Yes                                                $

   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b).                                         $         0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

           By law, the court must keep the nature of these expenses confidential.                                                   $         0.00
   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional
       amount claimed is reasonable and necessary.                                                                                  $         0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount
       claimed is reasonable and necessary and not already accounted for in lines 6-23.

           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.     $         0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate
       instructions for this form. This chart may also be available at the bankruptcy clerk's office.
       You must show that the additional amount claimed is reasonable and necessary.                                                $         0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                           +$         0.00


   32. Add all of the additional expense deductions.                                                                               $    650.00
       Add lines 25 through 31.




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Debtor 1   Paul Peter Salamon, Jr.
Debtor 2   Nancy Jean Salamon                                                                       Case number (if known)



   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.

           Mortgages on your home:                                                                                                        Average monthly
                                                                                                                                          payment
   33a.    Copy line 9b here                                                                                                        =>    $          500.00
           Loans on your first two vehicles:
   33b.    Copy line 13b here                                                                                                       =>    $             0.00
   33c.    Copy line 13e here                                                                                                       =>    $          201.33
   33d.    List other secured debts:
   Name of each creditor for other secured debt         Identify property that secures the debt                    Does payment
                                                                                                                   include taxes or
                                                                                                                   insurance?

                                                                                                                             No
           -NONE-                                                                                                            Yes          $

                                                                                                                             No
                                                                                                                             Yes          $

                                                                                                                             No
                                                                                                                             Yes         +$


                                                                                                                                      Copy
                                                                                                                                      total
   33e. Total average monthly payment. Add lines 33a through 33d                                        $              701.33         here=>   $       701.33

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

           No. Go to line 35.
           Yes. State any amount that you must pay to a creditor, in addition to the payments
                listed in line 33, to keep possession of your property (called the cure amount).
                Next, divide by 60 and fill in the information below.

    Name of the creditor                            Identify property that secures the debt                     Total cure                     Monthly cure
                                                                                                                amount                         amount

    -NONE-                                                                                                  $                       ÷ 60 = $


                                                                                                                                      Copy
                                                                                                                                      total
                                                                                                  Total $                    0.00     here=>   $              0.00


   35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

           No.   Go to line 36.
           Yes. Fill in the total amount of all of these priority claims. Do not include current or
                ongoing priority claims, such as those you listed in line 19.
                   Total amount of all past-due priority claims                                         $          57,000.00 ÷ 60 = $                    950.00




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Debtor 2     Nancy Jean Salamon                                                                           Case number (if known)



   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No.    Go to line 37.
             Yes. Fill in the following information.
                    Projected monthly plan payment if you were filing under Chapter 13                        $                 500.00
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama
                    and North Carolina) or by the Executive Office for United States Trustees
                    (for all other districts).                                                               X               6.00

                    To find a list of district multipliers that includes your district, go online using
                    the link specified in the separate instructions for this form. This list may also
                    be available at the bankruptcy clerk’s office.
                                                                                                                                            Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                    $           30.00         here=> $                   30.00



   37. Add all of the deductions for debt payment.                                                                                                           $    1,681.33
       Add lines 33e through 36.

   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                      $            9,232.33
           Copy line 32, All of the additional expense deductions                  $               650.00
           Copy line 37, All of the deductions for debt payment                   +$            1,681.33


                                                          Total deductions         $           11,563.66              Copy total here...........=>       $         11,563.66


Part 3:        Determine Whether There is a Presumption of Abuse

   39. Calculate monthly disposable income for 60 months
           39a. Copy line 4, adjusted current monthly income                       $           10,389.00
           39b. Copy line 38,Total deductions                                     -$           11,563.66

           39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                     Copy
                Subtract line 39b from line 39a                                    $           -1,174.66              here=>$                 -1,174.66


           For the next 60 months (5 years)                                                                                          x 60

                                                                                                                                    Copy
           39d. Total. Multiply line 39c by 60                                         39d.    $             -70,479.60             here=>           $           -70,479.60


   40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $9,075*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

             The line 39d is more than $15,150*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
             Part 4 if you claim special circumstances. Go to Part 5.

             The line 39d is at least $9,075*, but not more than $15,150*. Go to line 41.

       *Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.




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Debtor 2     Nancy Jean Salamon                                                                                                 Case number (if known)




   41.       41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
                  A Summary of Your Assets and Liabilities and Certain Statistical Information
                  Schedules (Official Form 106Sum), you may refer to line 3b on that form.                                               $
                                                                                                                                             x    .25
                                                                                                                                                          Copy
             41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)                                           $                here=>   $
                    Multiply line 41a by 0.25.....................................................................................

   42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
       25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2. There is a
             presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


Part 4:        Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).


           No. Go to Part 5.

           Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                item. You may include expenses you listed in line 25.

                You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                adjustments.



                 Give a detailed explanation of the special circumstances                                                       Average monthly expense
                                                                                                                                or income adjustment

                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $

                                                                                                                                     $


Part 5:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Paul Peter Salamon, Jr.                                                                  X /s/ Nancy Jean Salamon
                Paul Peter Salamon, Jr.                                                                         Nancy Jean Salamon
                Signature of Debtor 1                                                                           Signature of Debtor 2
         Date September 1, 2022                                                                        Date September 1, 2022
              MM / DD / YYYY                                                                                MM / DD / YYYY




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                        ATLANTIC COLLECTION
                        194 BOSTON POST RD E
                        LYME, CT 06333



                        BARCLAYS BANK DELAWA
                        125 S WEST ST
                        WILMINGTON, DE 19801



                        Connecticut Dept of Revenue
                        450 Columbus Blvd, Ste 1
                        Hartford, CT 06103



                        CREDIT COLLECTION SERVICE
                        PO BOX 607
                        NORWOOD, MA 02062



                        CREDIT ONE BANK
                        6801 S CIMARRON RD
                        LAS VEGAS, NV 89113



                        Equifax
                        PO Box 740241
                        Atlanta, GA 30374



                        Experian
                        701 Experian Parkway
                        Allen, TX 75013



                        FIRST PREMIER
                        3820 N LOUISE AVE
                        SIOUX FALLS, SD 57107



                        Georgia Department of Revenue
                        Bankruptcy Section
                        1800 Century Blvd NE Ste 9100
                        Atlanta, GA 30345
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                    GM FINANCIAL
                    PO BOX 181145
                    ARLINGTON, TX 76096



                    Internal Revenue Service
                    Centralized Insolvency Opera
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    JPMCB AUTO FINANCE
                    700 KANSAS LANE
                    MAIL CODE LA 44025
                    MONROE, LA 71203



                    KOHLS/CAPITAL ONE
                    PO BOX 3115
                    MILWAUKEE, WI 53201-3115



                    MERRICK BANK
                    PO BOX 9201
                    OLD BETHPAGE, NY 11804



                    MIDLAND CREDIT MANAGEMENT
                    320 E BIG BEAVER STE 300
                    TROY, MI 48083



                    NATIONSTAR MORTGAGE LLC
                    350 HIGHLAND
                    HOUSTON, TX 77067



                    Northside Hospital
                    1000 Johnson Ferry Road NE
                    Atlanta, GA 30342



                    SANTANDER CONSUMER U
                    8585 N STEMMONS FWY STE 1100 N
                    DALLAS, TX 75247
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                    SANTANDER CONSUMER USA
                    961211 FORT
                    WORTH, TX 76161



                    SYNCB/TJX CO
                    4125 WINDWARD PLZ
                    ALPHARETTA, GA 30005



                    Transunion
                    2 Baldwin Place
                    PO Box 1000
                    Crum Lynne, PA 19022



                    US DEPT OF EDUCATION/GLE
                    2401 INTERNATIONAL LANE
                    POB 7859
                    MADISON, WI 53704



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                    2401 INTERNATIONAL LANE
                    POB 7859
                    MADISON, WI 53704



                    Yale New Haven Health
                    789 Howard Ave
                    New Haven, CT 06519
